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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                                 :
                                                          :   CASE NO. 21-cr-699 (JDB)
       v.                                                 :
                                                          :
                                                          :
JOLY GERMINE, AND                                         :
ELIANDE TUNIS                                             :
                                                          :
                                                          :
       Defendants.                                        :


                                   NOTICE OF EXHIBIT


       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, hereby submits the attached exhibit, displayed for the Court during the motions

hearing, held on December 21, 2023. This image was displayed as part of Government’s Exhibit

20, and we request it be made part of the record for the hearing.


                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    UNITED STATES ATTORNEY

                                                By: /s/ Kimberly Paschall
                                                    Karen P. W. Seifert (N.Y. Bar No. 4742342)
                                                    Kimberly Paschall (D.C. Bar No. 1015665)
                                                    Assistant United States Attorneys


                                                    MATTHEW G. OLSEN
                                                    ASSISTANT ATTORNEY GENERAL

                                                    Beau D. Barnes (D.C. Bar No. 1024150)
                                                    Trial Attorney
                                                    Counterintelligence and Export Control
                                                    Section, National Security Division
                                                    Department of Justice
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